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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                      FORT PmRCE DIVISION
                                    CASE NO.: 20-cv-14219-RLR 0

        FELIP E BALTAZA R. and other
        similarly situated indi vidua ls.

                 Plaintill.
        vs.

        B. GREEN & MORE LANDSCA PIN G, IN C.
        and BILLY M. LOP EZ . individua ll y.

                  Defendant(s).


                                         MEDIATOR'S REPORT

              Daniel T . Peld , Esq., the un Lkrsigncd Ce rtifi ed Med iator. reports to thi s
        Honorabl e Court as fo ll ows :

        The Mediation was he ld vi rtu al ly on Scptembct· 8, 2020 ({j)_ 10:00 A.M.

        _L              AN AGREEMENT WAS REA CHED .

                       _ _ T he Ag reemen t is attached w ith consent of the parties.

                        NO AGREEMENT WAS REACHED: IMPASSE.

                       T he parties w ish to continue settiement ne gotiatio ns and may reconvene
                       lo r a co ntinuat ion of the l'vled iation. Noti ce of th e contin uatio n sha ll be
                       provided to the parties and lilecl with th e Co urt. 11· no No tice of an
                       ag reement is tiled with th e Co urt on or belore _ /_ /_                 then this
                       matter shaii be de emed at an impasse.

                       Ot her: - - -- - - - - -- -- - - - - - - - - - - - --
